                                       Case 3:23-cv-03698-WHA           Document 357       Filed 07/01/25      Page 1 of 1




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                                   6                                 UNITED STATES DISTRICT COURT

                                   7
                                                                    NORTHERN DISTRICT OF CALIFORNIA
                                   8

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                                  10    X CORP., INC.,
                                  11                   Plaintiff,                            No. C 23-03698 WHA

                                  12            v.                                           END OF CASE ORDER
Northern District of California
 United States District Court




                                  13    BRIGHT DATA LTD.,
                                  14                   Defendant.

                                  15

                                  16         Special Master McElhinny has ably served the United States District Court for the
                                  17    Northern District of California in this discovery-intensive proceeding. With appreciation, he is
                                  18    DISCHARGED from duty in this matter.
                                  19         The parties have filed a stipulation of voluntary dismissal with prejudice under Rule
                                  20    41(a)(1)(A)(ii) (Dkt. No. 355). As they requested, this order accepts and enters that dismissal.
                                  21         The district court retains jurisdiction as to its records and remaining sealing motions (see
                                  22    also Dkt. No. 138 ¶ 9). Brennan v. Opus Bank, 796 F.3d 1125, 1126, 1134 (9th Cir. 2015).
                                  23         The Clerk shall close the file.
                                  24         IT IS SO ORDERED.
                                  25

                                  26    Dated: July 1, 2025.
                                  27
                                                                                               WILLIAM ALSUP
                                  28                                                           UNITED STATES DISTRICT JUDGE
